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     LLC,                                           Attorneys for Defendants
10   and Ideahub, Inc.                              Starz Entertainment, LLC, and Lions Gate
                                                    Entertainment Corp.
11
12
13                         UNITED STATES DISTRICT COURT

14                       CENTRAL DISTRICT OF CALIFORNIA

15                                   WESTERN DIVISION

16 HELIOS STREAMING, LLC, and                     Case No. 8:19-cv-02140-JVS-ADS
   IDEAHUB, INC.,
17                                                JOINT RULE 26(f) REPORT
            Plaintiffs,
18                                                Scheduling Conference:
       vs.
19                                                Date:       March 2, 2020
                                                  Time:       10:30 a.m.
20 STARZ ENTERTAINMENT, LLC, and                  Judge:      Hon. James V. Selna
   LIONS GATE ENTERTAINMENT
21
   CORP.
22          Defendants.
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24
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28
                                                              JOINT RULE 26(f) REPORT
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 1          Pursuant to Federal Rule of Civil Procedure 26(f) and Local Rule 26-1, Plaintiffs
 2 Helios Streaming, LLC (“Helios”) and Ideahub, Inc. (“Ideahub”) (collectively
 3 “Plaintiffs”), and Defendants Starz Entertainment, LLC (“Starz Entertainment”) and
 4 Lions Gate Entertainment Corp. (“Lions Gate”) (collectively “Starz” or “Defendants”)
 5 submit this Joint Rule 26(f) Report and case management and discovery schedule.
 6 Counsel have conferred pursuant to Fed. R. Civ. P. 26(f)(1).
 7     a.      Synopsis
 8                                     Plaintiffs’ Statement
 9          Plaintiff Helios is a limited liability company organized under the laws of the State
10 of Delaware, with its address at 9880 Irvine Center Drive, Suite 200, Irvine, CA 92618.
11 Plaintiff Ideahub is a corporation organized under the laws of the Republic of Korea with
12 a place of business at 7 Heolleungro, Seocho-gu, Seoul 06792, Republic of Korea.
13          On November 6, 2019, Plaintiffs filed this lawsuit accusing Starz of directly and
14 indirectly infringing U.S. Patent Nos. 10,270,830 (the “’830 patent”), 10,277,660 (the
15 “’660 patent”), 10,313,414 (the “’414 patent”), 10,356,145 (the “’145 patent”),
16 10,362,130 (the “’130 patent”), 10,375,373 (the “’373 patent”), 8,645,562 (the “’562
17 patent”), 8,909,805 (the “’805 patent”), 9,325,558 (the “’558 patent”), and 9,467,493 (the
18 “’493 patent”) (collectively, the “Asserted Patents”).
19          The Asserted Patents claim technologies for providing adaptive HTTP streaming
20 services using metadata for media content. The Asserted Patents also claim technologies
21 fundamental to Dynamic Adaptive Streaming over HTTP (“DASH”), which is a media-
22 streaming model for delivering media content. The claimed inventions of the Asserted
23 Patents have been incorporated into the standard for dynamic adaptive streaming delivery
24 of MPEG media over HTTP, ISO/IEC 23009-1:201, and the subsequent versions of this
25 standard (collectively, the “MPEG-DASH” standards).
26          MPEG-DASH technologies, including those claimed in the Asserted Patents,
27 facilitate high-quality streaming of media content by breaking media content (i.e. a
28
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 1 movie) into smaller parts, each of which are made available by a variety of bitrates. The
 2 user or customer plays back downloaded parts of the media content. The user’s device
 3 employs an algorithm to select subsequent media parts with the highest possible bitrate,
 4 which can be downloaded in time for playback without causing delays in the user’s
 5 viewing and listening experience. As such, the MPEG-DASH standard, including the
 6 claimed inventions of the Asserted Patents, enable high-quality streaming of media
 7 content over the internet delivered from conventional HTTP web servers. This high-
 8 quality streaming was not previously possible on a large scale with prior art techniques
 9 and/or devices.
10         Plaintiffs accuse Starz of direct infringement of the Asserted Patents by Starz’s
11 selling, offering to sell, making, using, and/or providing and causing to be used media
12 content streamed in accordance with the MPEG-DASH standard, including videos on
13 demand and live streaming. Plaintiffs accuse Starz of indirect infringement by inducing
14 and continuing to induce others to infringe the Asserted Patents (with specific intent or
15 willful blindness), and by actively aiding and abetting others to infringe, including but
16 not limited to Starz’s partners and customers. Starz induces its partners and customers to
17 infringe by, for example, providing materials and services whose use constitutes direct
18 infringement (e.g. Starz’s streaming service, Starz streaming app, and videos on demand).
19         Starz filed an Answer on January 3, 2020 and an Amended Answer with
20 Counterclaims on January 24, 2020. The deadline for Plaintiffs’ answer to Starz’
21 Counterclaims is February 14, 2020. See Fed. R. Civ. P. 12(a)(1)(B).
22                                Defendants’ Statement
23     As set forth in greater detail in Defendants’ Amended Answer and
24 Counterclaims, Defendants deny that they are infringing--directly, indirectly or
25 otherwise--the Asserted Patents. Defendants further assert that the Asserted Patents
26 are invalid and unenforceable. Moreover, to the extent the Asserted Patents are
27 necessary to the MPEG-DASH standard, Plaintiffs are obligated to, but have not,
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 1 offered fair, reasonable and non-discriminatory license terms.
 2     b.      Legal Issues
 3          The principal legal issues in this case include at least the following:
 4             • The proper construction of the claims of the patents-in-suit.
 5             • Whether the accused products infringe the patents- in-suit.
 6             • Whether the patents-in-suit are valid and/or unenforceable.
 7             • Whether Starz is liable for willful infringement.
 8             • The amount of a reasonable royalty.
 9             • Whether Plaintiffs have complied with obligations to offer Defendants
10                a license on fair, reasonable and non-discriminatory terms.
11     c.      Damages
12                                   Plaintiffs’ Statement
13          Discovery in this matter has just begun. No documents have yet been exchanged
14 and no depositions of any of Starz’s witnesses have occurred. Accordingly, Plaintiffs do
15 not yet have the information necessary to provide a complete calculation of damages.
16          Plaintiffs state that, pursuant to relevant ISO and IEC guidelines, bylaws, and
17 policies, many of the claims of the Asserted Patents are subject to Fair, Reasonable, and
18 Non-Discriminatory (“FRAND”) licensing obligations to willing licensees. To the extent
19 Starz refuses to willingly take a license under such claims of the Asserted Patents under
20 FRAND terms, however, Plaintiffs reserve the right to treat Starz as an unwilling licensee,
21 such that Plaintiffs would not be bound by any FRAND licensing obligation for purposes
22 of this action or any license to Starz. Accordingly, Plaintiffs seek the maximum available
23 reasonable royalty damages to compensate for Starz’s infringing activities.
24          Subject to the paragraph above, Plaintiffs will seek damages based upon a
25 reasonable royalty for Starz’s infringement pursuant to 35 U.S.C. § 284. See, e.g., Bard
26 Periph. Vascular, Inc. v. W.L. Gore & Assocs., Inc., 670 F.3d 1171 (Fed. Cir. 2012);
27 Powell v. Home Depot U.S.A., Inc., 663 F.3d 1221 (Fed. Cir. 2012); Funai Elec. Co. Ltd.
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 1 v. Daewoo Elecs. Corp., 616 F.3d 1357 (Fed. Cir. 2012). Courts have recognized a
 2 number of factors to be considered in determining a reasonable royalty, including the
 3 factors enumerated in Georgia Pacific Corp. v. United States Plywood Corp., 318 F.
 4 Supp. 1116 (S.D.N.Y. 1970). Plaintiffs anticipate calculating a reasonable royalty rate
 5 based upon the factors set forth in Georgia Pacific and its progeny, or potentially a subset
 6 of those factors applicable to FRAND license rates. Without the benefit of discovery,
 7 Plaintiffs cannot currently conduct a reasonable royalty analysis. Plaintiffs will also
 8 request Starz be ordered to pay interest on any damages awarded. See, e.g., 35 U.S.C. §
 9 284; 28 U.S.C. § 1961; Gen. Motors Corp. v. Devex, 461 U.S. 648 (1983); Fractus, S.A.
10 v. Samsung Elecs. Co. Ltd., 2012 WL 2505741, at **46- 47 (E.D. Tex. Jun. 28, 2012).
11         Plaintiffs may further seek enhanced damages up to treble damages pursuant to 35
12 U.S.C. § 284 for Starz’ willful infringement of the Asserted Patents. Plaintiffs may also
13 request that this case be deemed exceptional and that this Court order Starz to pay
14 Plaintiffs’ attorney’s fees, costs, and expenses, as provided by 35 U.S.C. § 285 and 28
15 U.S.C. § 1920. See, e.g., ICU Medical, Inc. v. Alaris Med. Sys., Inc., 558 F.3d 1368 (Fed.
16 Cir. 2009).
17                                   Defendants’ Statement
18         Discovery in this matter has just begun. No documents (including any prior
19 licenses involving the Asserted Patents) have yet been exchanged and no depositions
20 have occurred. Nor have Plaintiffs set forth a damages calculation for Defendants to
21 evaluate. Accordingly, Defendants do not yet have the information necessary to assess
22 damages. However, to the extent the Asserted Patents are necessary to the MPEG-
23 DASH standard, Plaintiffs are obligated to, but have not, offered fair, reasonable and
24 non-discriminatory license terms.
25         Defendants specifically deny that any alleged infringement has been willful or
26 that Plaintiffs are entitled to any damages enhancements or an award of attorneys’ fees,
27 costs and expenses.
28
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 1     d.      Insurance
 2                                      Plaintiffs’ Statement
 3          Plaintiffs do not currently have in effect any indemnity or insurance agreements
 4 relevant to this lawsuit.
 5                                     Defendants’ Statement
 6          Defendants presently are unaware of any indemnity or insurance agreements
 7 relevant to this lawsuit. To the extent they subsequently identify any such agreements
 8 they will update this disclosure.
 9     e.      Motions
10                                      Plaintiffs’ Statement
11          Plaintiffs do not currently anticipate filing a motion to add any additional parties
12 or claims, to amend pleadings, or to transfer venue.
13                                     Defendants’ Statement
14          Defendants have not filed a motion to dismiss. As discovery progresses, they
15 may have grounds to file a motion for summary judgment. In addition, Defendants
16 request the opportunity for briefing on claim construction issues.
17     f.      Discovery and Experts
18          On February 19, 2020, the parties met and conferred and discussed a discovery and
19 case management plan. The parties are working together to coordinate discovery.
20                                      Plaintiffs’ Statement
21          Plaintiffs anticipate taking depositions of Starz’s employees and 30(b)(6)
22 witnesses in this matter. Plaintiffs do not anticipate more than 10 party depositions,
23 exclusive of expert depositions and third-party depositions. Plaintiffs have received no
24 discovery from Starz since the filing of the present Complaint. Plaintiffs believe there is
25 substantial discovery to be completed in this case and for Starz to provide to Plaintiffs.
26                                     Defendants’ Statement
27          Defendants anticipate taking depositions of Plaintiffs’ employees/representatives
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 1 and 30(b)(6) witnesses in this matter, as well as the inventors of the Asserted Patents.
 2 Defendants have received no discovery from Plaintiffs since the filing of the present
 3 Complaint. Defendants believe there is substantial discovery to be completed in this case.
 4 Moreover, given that there are ten patents in issue--and at least nine named inventors--in
 5 addition to third-party witnesses on matters such as prior art, Defendants anticipate the
 6 need to take more than 10 depositions, although Defendants will be in a better position to
 7 assess this number after the exchange of initial disclosures and documents.
 8                   The Parties’ Joint Statement regarding Discovery
          Unless otherwise specified in this Joint Rule 26(f) report, including Exhibit A
 9
     submitted herewith, the parties agree to abide by the Court’s Jury Trial Order in civil
10
     cases.
11
          No discovery has been taken yet. The scope of anticipated discovery may
12
     include documents, interrogatory responses, requests for admissions, and depositions
13
     relating to the legal and factual issues identified in the parties Joint Rule 26(f) Report.
14
          The parties agree concerning certain discovery limitations as outlined below.
15
     Unless as otherwise agreed, the parties agree that the Federal Rules of Civil Procedure,
16
17   as modified by any applicable Local Rules or standing orders of the Court, govern.

18        Interrogatories: Each side may serve up to twenty-five (25) interrogatories to

19   the other side.

20        Requests for Admissions: Each side may serve up to twenty-five (25) requests

21   for admissions to the other side. This does not include Requests for Admission

22   regarding the authentication of business records.

23        Fact Witness Depositions:

24               Plaintiff’s position: Each side shall be limited to no more than thirty-five

25   (35) hours of deposition time for party depositions taken pursuant to Fed. R. Civ. P.

26   30(b)(6) or 30(a)(1), but no more than seven (7) hours per person. Depositions of third

27   parties shall be limited to seven (7) hours of deposition time, unless otherwise agreed.

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                 Defendants’ Position: Given that there are two parties, ten patents in
 1
     issue, at least nine named inventors, and potentially dozens of relevant prior art
 2
     references, it is likely that Defendants will need to take more than 10 depositions.
 3
     Defendants agree to no more than thirty-five (35) hours of party depositions per side,
 4
     with no deposition lasting more than seven (7) hours on the record per person.
 5
     Depositions of third parties (including, without limitation, the inventors of the patents)
 6
     shall be limited to seven (7) hours of deposition time on the record, unless otherwise
 7
     agreed.
 8
           Expert Depositions: Each side may depose each opposing testifying expert
 9
10   witness for up to seven (7) hours per report served by a particular expert witness. For

11   the avoidance of doubt, an expert’s opinions on infringement, validity, and damages

12   shall be considered separate reports, regardless of whether they are included in a single

13   document.

14         Other: Pursuant to Fed. R. (b)(2)(E), the parties consent to service by email, and
15 agree that the parties will treat service by email as being the same as service by hand
16 under Fed. R. Civ. P. 5(b)(2)(A). The addition of three days under Rule 6(d), FRCP shall
17 apply to any documents served “by other electronic means. . . consented to in writing”
18 under Rule (5)(b)(2)(E) if the document is served on any weekend day (starting any time
19 after 5:00 PM PT on a Friday), on a federal holiday, or any day on which the court is
20 closed.
21         The parties anticipate the need for a protective/confidentiality order with at least
22 two levels of confidentiality, including Attorneys’ Eyes Only designations.              The
23 protective/confidentiality order will also address the claw-back of inadvertently-
24 produced privileged documents. To the extent Plaintiffs seek the review of source code,
25 the parties will need to establish protocols for such review.
26         Moreover, to the extent third-parties, such as inventors, are abroad, the schedule
27
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 1 will need to accommodate procedures for taking international depositions and obtaining
 2 international documents.
 3      g.     Dispositive Motions
             The parties anticipate that there may be dispositive motions filed as to at least
 4
     issues of infringement/non-infringement and validity/invalidity of the Asserted Patents.
 5
     The parties also anticipate the need for motions in limine in advance of trial.
 6
        h.      Settlement and Settlement Mechanism
 7
             The parties will continue to explore settlement as appropriate and, pursuant to
 8
     Local Rule 16-15.4, they will participate in alternative dispute resolution proceeding, if
 9
     necessary. The parties believe that ADR would be most effective after at least some
10
     discovery into the technical issues presented in the case and potentially claim
11
     construction, and quantification of relevant financial information. The parties
12
13 tentatively agree to mediation with a private mediator, but will revisit this choice after
14 the parties have engaged in meaningful discovery.
15           Trial Estimate:

16           Both Plaintiffs and Starz have requested a trial by jury.

17           Plaintiffs estimate 7 court days for the trial of the claims raised in Plaintiffs’

18 Complaint, and anticipates calling approximately 4-6 witnesses, including party
19 witnesses, experts, and third-party witnesses (as needed). In this case, there are ten
20 related patents-in-suit. Almost all of the Asserted Patents share the same inventors.
21 There may be more than one technical expert as to each of these patented technologies.
22 There will be a damages expert, and there may be technical experts addressing issues of
23 patent invalidity if such issues will be raised by Defendants at trial.
24           Given that there are presently 10 patents in issue, it is Defendants’ position that

25 more than 7 court days of trial may be required if Plaintiffs do not substantially limit the
26 number of patents and claims to be tried. Defendants have not received pretrial
27 disclosures from Plaintiffs, so they cannot be sure how many witnesses have relevant
28
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     and nonduplicative information, but at this time Defendants predict that they will call
 1
     between 5 and 10 fact witnesses, in addition to several expert witnesses on issues of
 2
     non-infringement, invalidity and damages.
 3
 4      i.      Timetable
 5           The completed “Presumptive Schedule of Pretrial Dates” is attached hereto as
 6 Exhibit A and is consistent with the Court’s Scheduling Order.
 7      j.      Other Issues
 8           The parties are not at this time aware of any other issues requiring judicial
 9 management.
10      k.      Conflicts
11              1. For conflucts purposes only, Plaintiffs identify the following entities
12   as parents, subsidiaries, and/or affiliates of one or both of the Plaintiffs: IdeaHub,
13   Inc., Helios Streaming LLC, ImberaTek, LLC, General Video, LLC, and Glocom,
14   Inc.
15              2. Defendants identify the following entities as parents, subsidiaries
16   and/or affiliates of one or both of the Defendants: Artisan Entertainment Inc.;
17   Artisan Home Entertainment Inc., Debmar Sudios, Inc.; Debmar Studios, Inc.;
18   Debmar/Mercury, LLC; Debmar/Mercury International Limited; Entertainment
19   Capital Holdings International S.a.r.l.; Entertainment Capital Holdings Lux S.a.r.l.;
20   Entertainment Capital Lux S.a.r.l.; Film Holdings Co.; For Our Kids Entertainment,
21   LLC; Good Universe Media, LLC; LG Capital Holdings Inc.; LGAC 1, LLC;
22   LGAC 3, LLC; LGAC International LLC; LGTV Development (UK) Limited;
23   Lions Gate Capital Holdings, LLC; Lions Gate China UK Limited; Lions Gate
24   Entertainment (Hong Kong) Limited; Lions Gate Entertainment Canada Corp.;
25   Lions Gate Entertainment Inc.; Lions Gate Films Inc.; Lions Gate Home
26   Entertainment UK Limited; Lions Gate India S.a.r.l.; Lions Gate International (UK)
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 1   Limited; Lions Gate International (UK) Film Development Limited; Lions Gate
 2   International (UK) TV Development Limited; Lions Gate International Holdings
 3   S.a.r.l.; Lions Gate International Media Limited; Lions Gate International Motion
 4   Pictures S.a.r.l.; Lions Gate International Slate Investment S.A.; Lions Gate Media
 5   Canada GP Inc.; Lions Gate Media Canada Limited Partnership; Lions Gate Media
 6   Ltd.; Lions Gate Pictures UK Limited; Lions Gate Television Inc.; Lions Gate True
 7   North Corp.; Lions Gate True North Media, LLC; Lions Gate UK Limited; Lions
 8   Gate X Productions Corp.; Lions Gate X Productions, LLC; Lions Gate X-US
 9   Productions, LLC; Mandate Films, LLC; Mandate Pictures, LLC; PantaYA, LLC;
10   Pantelion, LLC; Pilgrim Media Group, LLC; Starz Independent, LLC; Starz Entity
11   Holding Company, LLC; Starz Entertainment, LLC; Starz Investments, LLC; Starz
12   Media Group, LLC; Starz Media, LLC; Starz LLC; Summit Distribution, LLC;
13   Summit Entertainment, LLC; and True North Media, LLC.
14     l.      Patent Cases
15          The parties agree that the Court should perform claim construction in this
16 matter, permit the parties to submit claim construction briefs, hold a Markman claim
17 construction hearing, and construe the asserted patent claims prior to expert
18 discovery and summary judgment briefing and motions practice, as is common in
19 patent cases. The parties do not intend to adopt the processes outlined in the
20 Northern District of California’s Local Patent Rules 3-1 through 3-9 and 4.1.
21     m.      Magistrate
22          The parties do not consent to have a magistrate judge preside.
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     Dated: February 24, 2020             By: /s/ Jeffrey Francis Craft
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 5                                        Attorneys for Plaintiffs Helios Streaming
 6                                        LLC and Ideahub, Inc.

 7
 8 Dated: February 24, 2020               By: /s/ Manny J. Caixeiro
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14                                        Attorneys for Defendants
15                                        Starz Entertainment, LLC, and Lions Gate
                                          Entertainment Corp.
16
17
18
19
           Pursuant to Local Rule 5-4.3.4, I, Jeffrey F. Craft, attest that all signatories
20
     listed, and on whose behalf the filing is submitted, concur in the filing’s content
21
     and have authorized the filing.
22
23                                                 /s/ Jeffrey F. Craft
24                                                   Jeffrey F. Craft

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 1                           CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed the foregoing with the Clerk of the
 3 Court using the CM/ECF system which will send notification of such filing to the
 4 Electronic Service List for this case.
 5 Executed on February 24, 2020
 6
 7                                            /s/ Jeffrey Francis Craft
                                              Jeffrey Francis Craft
 8
 9                                            Attorneys for Plaintiffs Helios Streaming, LLC
                                              and Ideahub, Inc.
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